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                                                                                                   EASTER"' 11STRICT ARKANSAS


                               IN THE UNITED STATES DISTRICT COURT     MAY 1 3 2020
                              FOR THE EASTERN DISTRICT OF ARKAN§~p:, 'N ~ A C K CLERK
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        David BRENNAN,
                                              Plaintiff

               vs.                                   Civil Action, Case No. 4                '.dC):~ -e£n ·"'~
        UNITED STATES OF AMERICA,
        Jovita CARRANZA in her
        official capacity as Administrator
        of the U.S. Small Business Administration,
        and Steven MNUCHIN in his official capacity
        as U.S. Secretary of the Treasury.
                                           Defendants

                               VERIFIED COMPLAINT
                                       AND
             EMERGENCY PETITION FOR DECLARATORY AND INJUNCTIVE RELIEF
                      ALTERNATIVELY FOR WRIT OF MANDAMUS

               Comes now David Brennan, pro se, in propria persona, being competent to testify as to

        the matters attested to herein, and for his Verified Complaint and Emergency Petition for

        Declaratory and Injunctive Relief Alternatively for Writ of Mandamus, states, on oath or

        affirmation, under penalty of perjury that the following is true to the best of his knowledge,

        information, and belief:

                                                      Parties

               1.      Plaintiff is a natural person residing and doing business as a sole proprietor in

        Searcy, Arkansas. As a sole proprietor, he is primarily engaged in a political podcast and the sale

        of political-themed T-shirts and novelty items.

               2.      Defendants are the United States of America, Jovita Carranza in her official

        capacity as Administrator of the U.S. Small Business Administration, and Steven Mnuchin in his



                                                          1             :   ,.._   ' .....
                                                                This case assigned to D!strict Judge~!f'':--~
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official capacity as U.S. Secretary of the Treasury. The Administrator is a party defendant

because she administers the Emergency EIDL Grant program established by Sec. 1110 of the

CARES Act. The United States and the Secretary are parties defendant because any injunctive

relief or mandamus granted will require disbursement of funds from the Treasury, whether from

direct appropriations for the Emergency EIDL Grant or from the General Fund.

                                           Jurisdiction and Venue

          3.      This Complaint being brought for redress of a legal wrong suffered by way of

u~s. Agency action, this court has personal and subject matter jurisdiction under 5 U;S.C. § 702.
This court has federal questionjurisdiction under 28 U.S.C. § 1331, federal defendant

jurisdiction under28 U.S.C. § 1346, and mandamus jurisdiction under 28 U.S.C. § 1361.

          4.      Venue in the Eastern District of Arkansas is appropriate under 28 U.S.C. § 139l{e)

{l)(C).

                                                Background

          5.      This court well knows and Plaintiff need not recite the enduring economic distress

this nation, its people, and its businesses have experienced and continue to experience due to the

COVID-19 pandemic of 2020 and the response made by the governors of the several states

intended to mitigate the spread of the virus. The economic effects have certainly touched nearly

every person and business concern within our borders, some worse than others.

          6.      On March 27, 2020, the President of the United States signed Public Law 116-

13"6, the ·Coronavirus Aid, Relief, and ·Economic Security Act (the CARES Act) into law. Within

the CARES Act, Congress recognized and sought to alleviate the emergency economic needs of

small business concerns affected directly or indirectly by the pandemic. Specific among this



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relief, and separate and apart from the famed Paycheck Protection Program established in Sec.

1102 of the CARES Act, is the Emergency EIDL Grant established in Sec. 1110 (Exhibit 1) as a

general assistance program for small business concerns affected by the COVID-19 pandemic.

       7.      Sec. 1110 establishes the Emergency EIDL Grant as an advance on an Economic

Injury Disaster Loan, administered by the U.S. Small Business Administration, which need not

be repaid even if the applicant is subsequently denied the loan. Under Sec. lll0(e)(l), an

applicant is permitted to request an advance to be made within three days of application in an

amount the applicant requests, subject to the $10,000.00 limitation of·Sec. lll0(e)(3):

       (e) Emergency Grant.--
       (1)     In General.-- During the covered period, an entity included for eligibility
       in subsection (b), including small business concerns, private nonprofit
       organizations, and small agricultural cooperatives, that applies for a loan under
       section 7(b)(2) of the Small Business Act (15 U.S.C. 636(b)(2)) in response to
       COVID-19 may request that the Administrator provide an advance that is, subject
       to paragraph (3), in the amount requested by such applicant to such applicant
       within 3 days after the Administrator receives an application from such applicant.

(emphasis added)

       8.      Sec. 1110 of the -CARES Act is the legislative entirety of the Emergency EIDL

Grant program, and no other grant authority to the Small Business Administration whatsoever

appears anywhere in the Economic Injury Disaster Loan program proper (15 U.S.C. § 636 (b)).

       9.      Sec. 1110 contains no limiting term as to the number of grants to be awarded by

the Administrator or the total outlay under the program, such as "subject to available funding" or

''to the extent of Congressional appropriation." The number of grants which the Administrator

may award and the total outlay therefore under the section appears to be statutorily limited only

by the length of the "covered period" set out therein.

       10.     By way of Sec. 11 l0(e)(7), as amended, Congress has to date made a total of


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$20,000,000.000.00 (twenty Billion dollars) in direct appropriations for the Emergency EIDL

Grant program. Congress has communicated to the Administrator that it stands ready to increase

the appropriation as needed. (Exhibit 2)

       11.      ·sec. 1114 of the Cares Act (Exhibit 3) affirmatively requires the Administrator

to issue regulations for the administration of the small business assistance programs contained in

the Act, including the Emergency EIDL Grant program, within 15 days of enactment. Though an

interim final rule was timely issued and published for the implementation of the Sec. 1102

Paycheck Protection Program (PPP), the Administrator did not issue and publish any regulation

or rule for the implementation of the Sec. 1110 Emergency EIDL Grant program within 15 days

of its enactment or incorporate by reference any such regulation or rule in any published

regulation or rule within the statutory timeframe. Though at the time of the passage of the

CARES Act, there were existing regulations and procedural rules for the processing of

applications and determining of eligibility for non-COVID-19 EIDL loans, Sec. 1110 establishes

its own eligibility standards and indeed establishes the Emergency EIDL Grant as an entirely

different critter with approval separate and independent of the EIDL loan. This status as a

separate program is made clear by the direction of Congress that the Emergency advance/grant is

to be disbursed upon self-certification by the applicant (Sec. 1110(e)(2)) and that the applicant

shall not be required to repay the advance/grant even if turned down for the EIDL loan (Sec.

ll 10{e)(5)).

                                               Facts

        12.     It was the initial policy of the Administrator that SBA would advance to each and

every Sec. 1110 EIDL applicant requesting an advance a full $10,000.00 advance/grant. As



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shown in Fig. 1 below, on March 31, 2020, the SBA spokeswoman was communicating to the

media that SBA was "advancing $10,000 to all applicants."

 . :. . . .:.   C O        i inquirff'.com/bus1nf!»/smAll -bus1ne-ss,lco·on.111v1rus-small-bus1net.S-sbA-e-me-rgency-lrun- 1CXXlO-advance--20200331 .html


      Wednesday, April 08, 2020 I ToclaJ'I Pap«



      NEWS        SPORTS    BUSINESS     OPINION      POUTICS      DITO'TAJNHENT       un      FOOD      HEAL.nt    HAL ESTATE       08l'TUA"'ES     J OBS
                                                                                                                                                                                                        Q   -

                           The SBA h as streamlined the loan application process for bus iness owners, and n ow is                                                                                r.,
           f    POST       advancing S10,000 to all applicants, according to ag•ncy spokeswolllllll Carol Wilkinson.                                         i..i,ginie Personal Loans
                           President Don ald Trnmp on Friday signed into law the- CARES Act, the massive coronavirus
          .,,   TWHT
                           econ omic relief package, which provided additional assistance for small-business owners                                          0.       Hi, I'm Marie...
                           and nonprofits, including e $10,000 advance on an Economic Injury Disaste r Loan (EIDL) .
                                                                                                                                                             'l,"'t   Your personal loan expert
          •     SUBMIT



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                           THE INOUIIID8USINESS W&IU.Y llhf5UTl'tR
                                                                                                                                                                 What's Your Credit Score?
          tf> sH&Rf        Busmess news and analysis sent straight to your inbox every Tuesday morning.

                            your~emd1l.com                                                                             S gn Up                                               EXCEU ENT
          in    LINKEDIN
                                                                                                                                                                             VERYGOOO

                           This ad vance may be available even if the business owner's loan application is declined or is
                                                                                                                                                                             GOOD
                           still pending, and will be forgiven, according to the SBA.
                                                                                                                                                                             FAIR
                           Howt-ver, u a business owner, you still have to apply - all over again.
                                                                                                                                                                             POOR

                                                                 --------                                  II>><



                                                           Figure 1-The Philadelphia Inquirer, March 31, 2020

This was confirmed by SBA Economic Development Specialist David Hincapie in an April 1,

2020 webinar entitled Demystifying SBA 's Economic Injury Disaster Loans.

(bttps://youtu.be/9KjJCHcfpWg). Speaking for the SBA, beginning at approximately the 12:05

mark, Mr. Hincapie explains that the reason for the three-day advance/grant is that the

application process will take about 35 days. At approximately the 12:47 mark, speaking of the

check box for the advance appearing in the streamlined EIDL application, Mr. Hincapie says,

"Check it, and you're gonna get the $10,000.00 advance." Together, these representations to the

public put all potential applicants for the Emergency EIDL Grant under Sec. 1110 on notice that

it was SBA policy and procedure to award an automatic $10,000.00 advance/grant to every

applicant who completed the self-certification and checked the box indicating they were

requesting an advance.



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                                                           David Hincapie
                                                              Ea>nomc Development Specia/m
                                                              U.S. Small Business Ackninistntion
                                                                       o..id.~go,,




                                Fig. 2 - Screenshot from David Hincapie webinar

         13.      On or about March 30, 2020, a streamlined application was finalized and put into

use on the SBA website. The streamlined application indeed included a check box to request the

advance/grant, and there was no indication that the advance/grant amount would be determined

by the number of employees employed by the applicant.

         14.      On March 31, 2020, as a zero-employee sole proprietor and eligible entity under

Sec. 1110(a)(2)(B) of the Act, 1 Plaintiff accessed the Small Business Administration website and

completed the streamlined application for an EIDL and Emergency EIDL Grant while it was still

the policy of the Administrator to advance the full $10,000.00 to every applicant. This included

executing the self-certification required by Sec. 1110(e)(2) of the Act. He was given the

application number 3300708398. Plaintiff checked the check box but did not receive the

$10,000.00 advance within three days. In fact, it was 21 days before Plaintiff received any

advance at all.

         15.      Within the first few days of accepting Sec. 1110 EIDL applications via the

streamlined application on the SBA website, it became clear that there would be more applicants

than SBA could disburse the full $10,000.00 advance to given the initial CARES Act

1 Plaintiff's status as an eligible entity under the Act was ratified by SBA through its disbursal of a fractional EIDL
  grant in the amount of$1,000.00 to his bank account on April 21, 2020.

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appropriation of $10,000,000,000 (ten Billion dollars). Rather than sending up an emergency

flare to Congress in the form of an urgent request for additional appropriations for the grant

program as she did with PPP, the Administrator inexplicably chose instead to ration the EIDL

advance/grant, determining the amount to be disbursed to an applicant not according to the

"amount requested by such applicant" as contemplated in Sec. 1110(e) but instead according to

the number of employees on staff with the applicant. To the best of Plaintiff's knowledge,

information, and belief, the Administrator, has quite inexplicably still not, as of the date of this

filing, requested additional funds for the Emergency EIDL Grant program from Congress.

        16.    According to a table published by the Administrator on the SBA website (Exhibit

4), as of May 8, 2020, the Administrator had disbursed a total of 3,009,934 Emergency EIDL

Grants at a total outlay of$9,883,210,000. According to the Declaration of Eric N. Wall, a

Senior Loan Officer with the ·sBA (Exhibit 5), as of April 29, 2020, the SBA had received

approximately 5.5 million EIDL applications under Sec. 1110 and was sending an average of

109,785 applications for disbursement daily.

        17.    According to an official guidance memorandum dated April 7, 2020 authored by

Kimberly S. Butler, Director, office of Grants Management, (Exhibit 6) SBA began processing

EIDL applications and awarding the Sec. 1110(e) Emergency EIDL Grants on a per-employee

rationed basis on April 7, 2020, effectively turning Sec. 1110 into a sort of PPP-lite and applying

this unpublished rule in an ex post facto manner to Emergency EIDL Grant applications which

were received by the Administrator prior to the formulation and implementation of the rule.

        18.    Plaintiff, an eligible entity under the CARES Act, was not awarded an Emergency

EIDL grant within the statutory three-day timeframe but instead received bis grant 21 days after



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his application - seven times the statutorily mandated turnaround time for the emergency

grant. Plaintiff did not receive the $10,000.00 he had every legal and moral right to count on.

Instead, pursuant to the Administrator's rule of rationing the grants as set out in Exhibit 6,

applied ex post facto to his application, Plaintiff was disbmsed from the Treasury a whopping

$1,000.00. Plaintiff has, as of the date of this filing, yet to receive any communication

whatsoever from SBA regarding an EIDL loan.

        19.    Although the Administrator did issue a timely interim final rule for the

implementation of the Paycheck Protection Program, she did not issue a similar rule or

regulation for EIDL. This grant rationing policy therefore does not appear in any regulation or

rule published in the Federal Register within 15 days of the enactment of the CARES Act, nor is

it incorporated by reference in any such published regulation or rule.

       20.     Plaintiff has done business with various private and commercial lease creditors in

his town with a perfect payment record since 2009 and has established a solid business

reputation and good will among the local lease creditors over this time. Plaintiff holds the

technological equipment (computers, cameras, microphones, etc.) necessary to conduct his

political podcast and design his T-shirts on a private lease for which he has been unable to pay

the April Payment in full or pay any of the May payment due to the Administrator's egregious

delay of 18 days in disbursing his Emergency EIDL Grant and her unpublished rule of rationing

the grant amount by employee count. Without immediate disbursal of the remainder of his

Emergency EIDL Grant, due to his default on this lease, repossession is imminent, and he will

not be able to re-lease, let alone secure the upgrades to both his equipment and Internet service

that are necessary to conduct his podcast during this time when vastly increased usage has



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slowed his standard residential Internet connection, which had been sufficient prior. Plaintiff

holds the furnishings and fhtures for his podcast studio on a commercial lease for which he is

unable to make the June payment without disbursal of the remainder of his Emergency EIDL

Grant. Repossession will occur without payment, and be will be unable to re-lease due bis

default. It is unclear how much longer, if at all, Plaintiff will be able to keep the wolves at bay

with mere assurances-that the money, of which SBA bad given public assurances, is on its way.

       21.     Without immediate disbursal of the remaining $9,000.00 of the $10,000.00

Emergency EIDL-Grant for which SBA was, at the time ofhis applkation, offering public

assurances, Plaintiff will suffer irreparable hann, including the permanent loss of his

technological equipment, furnishings, and fixtures with the inability to re-lease due to the

damage to and loss of his business reputation and good will with lease creditors and in the local

lease creditor community which is critical to his being able to conduct his business, the

permanent loss of his podcast and T-shirt business, and the inability to exercise his right to

freedom of political speech through bis podcast and T-shirt sales.

       22.     Plaintiff had worked for over a year on a shoestring budget, starting with nothing

but a dream and a prayer to get his operation off the ground. He developed and tested various

iterations of his podcast filming with substandard equipment in a makeshift studio in the loft of

his barn-style efficiency home. Through favorable deferred payment loans from family and a

once-in-a-lifetime favorable lease on his equipment, Plaintiff was able to construct a state-ofthe-

art podcast studio in early 2020. Shortly thereafter, he hit on a format and style that resonated.

Had he been able to upgrade his equipment and Internet connection to conduct his operations on

this now very clogged Internet without losing subscribers, his business was projected to bring in



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a net profit of $4,200.00 for the month of April, which isn't bad for a trailer park boy in Searcy,

Arkansas. This was the epitome of the American dream - profit through hard work,

perseverance, creativity, and luck - and it was starting to take off. It was put on hold by the

COVID-19 pandemic, and it is being destroyed by the Administrator1s egregious delays and her

unpublished Rule rationing the amount of the Emergency EIDL Grant by employee count.

                                                      I.
                                     Violation of 5 U.S.C. § 552(a)(l)

       23.     Sec. 1114 of the CARES act affirmatively requires, through the use of the words

"shall issue regulations," the Administrator to issue regulations for the implementation of the

PPP and EIDL grant programs within 14 days of enactment Though the Administrator issued

and published a timely interim final rule on PPP, she did not do so for the EIDL grant program.

       24.     The April 7 official guidance memo establishes a formal or informal procedure for

the processing and approval ofEIDL loan/grant applications submitted pursuant to the CARES

Act subject to the publication requirement of 5 U.S.C. § 552(a){l){B) and is indeed a rule or set

of rules of procedure required to be published under 5 U.S.C. § 552(a){l){C). Furthermore, it

constitutes a rule of general applicability to all Sec. 1110 Emergency EIDL Grant applicants,

currently numbering in excess of 3,000,000, and is therefore required to be published by 5

U.S.C. § 552 (a){l)(D). Additionally, the rule can only exist as an aspect of the Administrator's

interpretation of Sec. 1110, and as an interpretation of general applicability, it must be published

as required by§ 552 (a){l)(D).

       25.      5 U.S.C. § 552(a){l) provides:

       Except to the extent that a person has actual and timely notice of the terms
       thereof, a person may not in any manner be required to resort to, or be adversely
       affected by, a matter required to be published in the Federal Register and not so


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       published. For the pmpose of this paragraph, matter reasonably available to the
       class of persons affected thereby is deemed published in the Federal Register
       when incorporated by reference therein with the approval of the Director of the
       Federal Register.

Because the Administrator's grant rationing rule was never published or incorporated by

reference in any timely published rule or regulation, and because the rule had not even been

implemented at the time ofhis application, the rule may not adversely affect Plaintiff, and he is

entitled to the full $10,000.00 Emergency EIDL Grant the CARES Act requires and the SBA was

publicly promising at the time he applied. No amount of discretion can allow the Administrator

to adversely affect Plaintiff by way of a rule that didn't exist until after he applied.

        26.    It goes without saying that the reduction of a grant that was advertised as a

$10,000.00 grant to anything less than $10,000.00 based on employee count-especially to

$1,000.00 is an adverse effect.

                                             II.
                     Grant Rationing Rule Is Contrary 'to the CARES Act

        27.    Sec. 1110 (a)(2)(B) of the CARES Act, specifically includes "any individual who

operates under a sole proprietorsbip, with or without employees, or as an independent

contractor" (emphasis added) as an entity eligible for the Emergency EIDL Grant.

        28.    Sec. lll0(e) explicitly allows an applicant to obtain an advance/grant "in the

amount requested by such applicant up to and including $10,000.00. This is the only language in

the CARES Act pertaining to determination of the Emergency EIDL Grant amount. The

Administrator's unpublished grant rationing rule robs this language of all meaning, significance,

and effect and is inconsistent with the canons of statutory construction.

        29.    Reading these two sections together, it is clear that Congress intended for an



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independent contractor or sole proprietor, without regard to employee count, to be able to obtain

an Emergency EIDL Grant in any amount up to $10,000.00. It is further clear that Congress

thought the applicant, rather than the Administrator, best suited to determine the grant amount.

The administrator may think this unwise, but it is Congress' call and not hers. The

administrator's unpublished rule setting herself up as the determiner of the grant amount and

rationing the grant amount by employee count is clearly out of harmony with the Act.

       30.     The notion that Congress intended to allow the Administrator discretion to ration

the grant amount by this employment-centered metric is completely undermined not just by the

language of Sec. 1110 but by the existence of two separate programs within the CARES act

aimed at employees: the Paycheck Protection Program (PPP) of Sec. 1102 et seq. and Pandemic

Unemployment Assistance (PUA) of Sec. 2102. The idea that Congress intended to establish the

Emergency EIDL Grant as yet a third employee-centered program is fanciful at best and finds no

support in the language of Sec 1110.

       31.     The Administrator does not have discretion to ration the grant amount by any

metric, let alone employee count, as to do so countermands the clear language of the Act and the

intent of Congress expressed thereby.

       32.     This court should hold unlawful and set aside the grant rationing rule, enjoin the

Administrator from enforcing it, and order Defendants to take immediate corrective action to

remedy the Administrator's prior enforcement of the rule.

                                                m.
                       Grant Rationing Rule Is Arbitrary and Irrational

       33.     In addition to being unenforceable under the Administrative Procedure Act and

flatly at odds with the clear intent of Congress that sole proprietors be allowed to obtain an


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Emergency EIDL Grant in the amount they request up to $10,000.00, the Administrator's grant

rationing rule is arbitrary and irrational.

        34.     There is no indication that the Administrator performed any calculation that

determined employee count to be an effective rationing means, as opposed to operating expenses

or level of economic injury, just to name a couple of possible rationing metrics, to ensure

meaningful assistance to small businesses. Further, there is no rational support for the idea that

spreading the assistance out over a larger number of recipients accomplishes anything other than

to so dilute the assistance as to make it meaningless to the smallest businesses.

        35.     In her administration of the Emergency EIDL Grant program, the Administrator

has established and applied a rule that lacks any rational relation to the Act and actually harms

most the sole proprietor and independent contractor that Congress specifically sought to include.

The rule is arbitrary and irrational.

                                          Appropriate Relief

        36.     5 U .S.C. § 706(1) provides this court authority to "compel agency action

unlawfully withheld or unreasonably delayed." It has additional authority under 5 U.S.C. §

706(2) to ''hold unlawful and set aside agency action, findings, and conclusions" 1hat are: "(A)

arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law; ...(C) in

excess of statutory jurisdiction, authority, or limitations, or short of statutory right; [or] (D)

without observance of procedure required by law ..."

        37.     The Administrator's unpublished rule was indeed required to be issued as a

regulation by Sec. 1114 of the Cares Act within 15 days of the Act's passage and is required by 5

U.S.C. § 552(a)(l) to be published in the Federal Register. The rule not having been published



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and Plaintiff having not had actual and timely notice of the rule at the time of the application, he

must be held harmless from its application, and the rule must be found unlawful and set aside for

this reason alone under 5 U.S.C. § 706(2)(0).

       38.     There is also no doubt that the Administrator's rule rationing the Emergency EIDL

Grant by employee count is ultra vires or in excess of the authority conferred by the CARES Act,

arbitrary, an abuse of discretion, and otherwise not in accordance with the Act. The grant

rationing rule must, therefore, be held unlawful and set aside pursuant to 5 U.S.C. § 706(2)(A)

and (C).

        39.    This court should, pursuant to 5 U.S.C. § 706(1), restrain the Administrator from

enforcing her rule determining grant amounts according to employee count and compel her to

implement Sec. 1110 according to its express terms without embellishment by way of untimely

or unpublished rule or regulation. The rule being held unlawful and set aside, Defendants should

be compelled to make disbursements for all Emergency EIDL Grant applicants in accordance

with the Act and the timeframe mandated therein and make whole all applicants who have had

their grants rationed under the rule, including Plaintiff. (Though plaintiff does not purport herein

to seek any class certification or to represent anyone1s interests other than his own, it is

inescapable that any order granting him specific relief could not be justly confined to his person

but would be required by justice to operate broadly to compel Defendants to merely comply with

the language of the CARES Act with respect to all applicants.)

       40.     Further, 5 U.S.C. § 705, in pertinent part, states:

       On such conditions as may be required and to the extent necessary to prevent
       irreparable injury, the reviewing court ... may issue all necessary and appropriate
       process to postpone the effective date of an agency action or to preserve status or
       rights pending conclusion of the review proceedings.


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Plaintiff has, contemporaneously herewith, submitted his Emergency Motion for Ex Parle

Temporary Restraining Order and Preliminary and Permanent Injunction. In light of the

emergency circumstances set out in this Verified Complaint these are appropriate remedies

under the CARES Act and 5 U.S.C. § 705.

                                        Alternative Relief

       41.     To the extent that any relief requested herein by Plaintiff sounds in Mandamus, the

court is refereed to Plaintiff's averments of irreparable harm herein. Additionally, it is clear from

reading Cares Act Sec. 1110 (a)(2)(B) and Sec. 11 lO(e) together that the Act devolves upon the

Administrator and the Secretary a purely ministerial duty to award and disburse Emergency

EIDL Grants to all applicants in the amount they request based upon their self-certification.

The existence of this ministerial duty is so clearly established as to be beyond all doubt to the

rational and impartial mind. Because this action does not sound in tort, the SBA has not waived

its damages immunity, and there is no private right of action in the CARES Act, there is no other

adequate remedy at law.

       Wherefore;

       Plaintiff respectfully requests this court grant him: 1) declaratory relief in the form of an

order holding unlawful and setting aside the Administrator's unpublished rule rationing the

amount of Emergency EIDL Grants awarded under Sec. 1110 of the CARES Act; 2) an ex parte

temporary restraining order restraining the Administrator from enforcing her unpublished EIDL

Grant rationing rule and preserving the status quo and the remaining appropriation by restraining

the Administrator from awarding and the Secretary from disbursing any additional EIDL Grants;

3) a Preliminary and Permanent Injunction restraining the Administrator from enforcing the


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EIDL Grant rationing rule, compelling the Administrator to implement Sec. 1110 of the CARES

act as written for all applicants without rationing, including immediately awarding Plaintiff the

remaining $9,000.00 of his Emergency EIDL Grant, and compelling the Secretary to

immediately disburse to Plaintiff the remaining $9,000.00 ofhis Emergency EIDL Grant upon

such award, and 4) expedited proceedings as appropriate under Fed R. Civ. P. 65, together with

such other and further relief, including any modification of the relief requested herein, that the

court may, upon motion or sua sponte, find just and proper.

                                                             Respectfully submitted,




                                                             da.victBnmnan
                                                             1200 Curd Drive, lot 8
                                                             Searcy, AR 72143
                                                             501-388-5106
                                                             MagicGritsLegal@gmail.com
                                            Verification

       State of Arkansas      )
                              )ss.
       County of White        )

        On this day appeared personally before me, the undersigned, a Notary Public within and
for said County and State, duly commissioned, qualified and acting, David Brennan, to me well
known or satisfactorily proven, and, on oath or affirmation and under penalty of perjury,
executed the foregoing in my presence.

       WITNESS my hand and seal this 13111 day of May 2020.



                                                             Notary Public

                                                              My commission expires:

                                                                   Olojoq/d0~3
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Case 4:20-cv-00505-KGB Document 1 Filed 05/13/20 Page 17 of 33 PLAINTIFF'S
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                                                                 EX~IT
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  1 tinuing participation as a lender under section 7(a) of the
  2 Small Business Act (15 U.S.C. 636(a)).
  3       (h) PROGRAM. AI>MlNIS'l'RA'l'I0N.-With guidanee
  4 from the Secretary, the Administrator shall administer the
  5 program established under this section, including the mak-
  6 ing and purehasing of guarantees on loans under the pro-
  7 gram, until the date on which the national emergency de-
  8 clared by the President under the National Emergencies
  9 Aet (50 U.S.C. 1601 et seq.) with respeet to the
 10 Coronavirus Disease 2019 (COVID-19) expires.
 11       (i) Clill\UNAL PENAL'l'IBS.-A loan under this section
 12 shall be deemed to be a loan under the Small Business
 13 Act (15 U.S.C. 631 et seq.) for purposes of section 16
 14 of' such Act (15 U.S.C. 645).
 15   SEC. 1110. EMERGENCY EIDL GRANTS.

 16       (a) DEFINITIONS.-ln this section-
 17           (1) the term "covered period" means the period
 18       beginning on January 31, 2020 and ending on De-
 19       cember 31, 2020; and
 20           (2) the term "eligible entity'' means-
 21                (A) a business with not more than 500 em-
 22           ployees;
 23                (B) any individual who operates under a
 24           sole proprietorship, with or without employees,
 25           or as an independent contractor;
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 O:\HEN\HEN20312.xml [file 1 of 2]                           S.L.C.

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  1                    (C) a cooperative with not more than 500
  2              employees;
  3                    (D) an ESOP (as defined in section 3 of

  4              the Small Business Act (15 U .S.C. 632)) with
  5              not n1ore than 500 employees; or
  6                    (E) a tribal small business concern, as de-
  7              scribed in section 31(b)(2)(C) of the Small
  8              Business Act (15 U.S.C. 657a(b)(2)(C)), with
  9              not more than 500 employees.
 10        (b) ELIGIBLE ENTITIES.-During the covered period,
 11 in addition to small business concerns, private nonprofit
 12 organizations, and small agricultural cooperatives, an eli-
 13 gible entity shall be eligible for a loan made under section
 14 7(b)(2) of the Small Business Act (15 U.S.C. 636(b)(2)).
 15        (c) TERMS; CREDIT ELSEWHERE.-With respect to
 16 a loan made under section 7(b)(2) of the Small Business
 17 Act (15 U.S.C. 636(b)(2)) in response to COVID-19 dur-
 18 ing the covered period, the Administrator shall waive--
 19              (1) any rules related the personal guarantee on
 20        advances and loans of not more than $200,000 dur-
 21        ing the covered period for all applicants;
 22              (2) the requirement that an applicant needs to
 23        be in business for the 1-year period before the dis-
 24        aster, except that no waiver may be made for a busi-
Case 4:20-cv-00505-KGB Document 1 Filed 05/13/20 Page 19 of 33
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  1        ness that was not in operation on January 31, 2020;
  2        and
  3              (3) the requirement m the flush matter fol-
  4        lowing subparagraph (E) of section 7(b)(2) of the
  5        Small Business Act (15 U.S.C. 636(b)(2)), as so re-
  6        designated by subseetion (f) of this section, that an
  7        applicant be unable to obtain credit elsewhere.
  8        (d) MPH.OVAL AND .ABILl'l'Y 'l'O REPAY J.1'0H. SMALL

  9 DOLLAR LoANs.-With respect to a loan made under see-
 10 tion 7(b)(2) of the Small Business Act (15 U.S.C.

 11 636(b)(2)) in response to COVID-19 during the covered
 12 period, the Administrator may-
 13              (1) approve an applicant based solely on the
 14        credit score of the applicant and shall not require an
 15        applieant to submit a tax return or a tax return
 16        transcript for such approval; or
 17              (2) use alternative appropriate methods to de-
 18        termine an applieant's ability to repay.
 19         (e) EMERGENCY GRANT.-

 20              (1) IN GENERAL.-During the covered period,
 21        an entity im~luded for eligibility in subseetion (b), in-
 22        eluding small business concerns, private nonprofit
 23        organizations, and small agricultural cooperatives,
 24        that applies for a loan under section 7(b)(2) of the
 25        Small Business Act (15 U.S.C. 636(b)(2)) in re-
Case 4:20-cv-00505-KGB Document 1 Filed 05/13/20 Page 20 of 33
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  1        sponse to COVID-19 may request that the Adminis-
  2        trator provide an advance that is, suQject to para-
  3        graph (3), in the amount requested by sueh appli-
  4        cant to such applicant within 3 days after the Ad-
  5        ministrator receives an application from such appli-
  6        eant.
  7                (2) VERIFICATI0N.-Before disbursing amounts

  8        under this subsection, the Administrator shall verify
  9        that the applieant is an eligible entity by aeeepting
 10        a self-certification from the applicant under penalty
 11        of perjury pursuant to section 1746 of title 28
 12        United States Code.
 13                (3) .AM0UNT.-rrhe amount of an advance pro-
 14        vided under this subsection shall be not more than
 15        $10,000.
 16                (4) USE OF FUNDS.-An advance provided
 17        under this subsection may be used to address any al-
 18        lowable purpose for a loan made under seetion
 19        7(b)(2) of the Small Business Act (15 U.S.C.
 20        636(b)(2)), including-
 21                    (.A) providing paid siek leave to employees

 22                unable to work due to the direct effect of the
 23                COVID-19;
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  1                     (B) maintaining payroll to retain employ-
  2               ees during business disruptions or substantial
  3               slowdowns;
  4                     (C) meeting increased costs to obtain ma-
  5               terials unavailable from the applicant's original
  6               souree due to interrupted supply ehains;
  7                     (D) making rent or mortgage payments;
  8               and
  9                     (E) repaymg obligations that eannot be

 10               met due to revenue losses.
 11               (5)   REPAYMEN'l'.-An     applicant shall not be re-
 12         quired to repay any amounts of an advan<~e provided
 13         under this subsection, even if subsequently denied a
 14         loan under section 7(b)(2) of the Small Business Act
 15         (15 U.S.C. 636(b)(2)).

 16               (6) UNEMPLOYMENT GRANT .-If an applicant
 17         that receives an advance under this subsection trans-
 18         fers into, or is approved for, the loan program under
 19         section 7(a) of the Small Business Act (15 U .S.C.
 20         636(a)), the advance amount shall be reduced from
 21         the loan forgiveness amount for a loan for payroll
 22         costs made under such section 7 (a).
 23               (7) AU'l'HOlUZA'l'lON 0.1!' APl'ROPRIATIONS.-

 24         There is authorized to be appropriated to the A.d-
Case 4:20-cv-00505-KGB Document 1 Filed 05/13/20 Page 22 of 33
 O:\HEN\HEN20312.xml [file 1 of 2]                          S.L.C.

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   1       ministration $10,000,000,000 to carry out this sub-
  2        section.
  3              (8) TERMINA'l'ION.-The authority to earry out

  4        grants under this subsection shall terminate on De-
  5        cember 31, 2020.
  6        (f) EMERGENCIES INVOLVING FEDERAL           PRIMARY

  7 RESPONSIBILITY QUALIFYING FOR SBA AsSISTANCE.-

   8 Section 7(b)(2) of the Small Business Act (15 U.S.C.
  9 636(b)(2)) is amended-

 10              (1) in subpar~crraph (A), by striking "or" at
 11        the end;
 12              (2) in subparagraph (B), by striking "or" at

 13        the end;
 14              (3) in subparagraph (C), by striking "or" at
 15        the end;
 16              (4) by redesignating subpar~crraph (D) as sub-
 17        paragraph (E);
 18              (5) by inserting after subparagraph (C) the fol-
 19        lowing:
 20                    "(D) an emergency involving Federal pri-
 21              mary responsibility determined to exist by the
 22              President under the section 50l(b) of the Rob-
 23              ert T. Stafford Disaster Relief and Emergency
 24              Assistance Act (42 U.S.C. 519l(b)); or"; and
 25              (6) in subparagraph (E), as so redesignated-
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  1                    (A) by striking "or (C)" and inserting
  2              "(C), or (D)";

  3                    (B) by striking "disaster deelaration" eaeh
  4              place it appears and inserting "disaster or
  5              emergency declaration'';
  6                    (C) by striking "disaster has oeeurred"
  7              and inserting '' disaster or emergency has oc-
  8              curred''·
                          '
  9                    (D) by striking "sueh disaster" and insert-
 10              ing "such disaster or emergency''; and
 11                    (E) by striking "disaster stricken" and in-
 12              serting ''disaster- or emergency-stricken''; and
 13              (7) in the flush matter following subparagraph
 14         (E), as so redesignated, by striking the period at the
 15        end and inserting the following: ": Provided :further,
 16        rrhat for purposes of subparagraph (D), the Admin-
 17        istrator shall deem that such an emergency affects
 18        each State or subdivision thereof (including coun-
 19        ties), and that each State or subdivision has suffi-
 20        cient economic damage to small business concerns to
 21        qualify for assistance under this paragraph and the
 22        Administrator shall accept applications for such as-
 23        sistance immediately.".
            Case 4:20-cv-00505-KGB Document 1 Filed 05/13/20 Page 24 of 33
                                                                                            PLAINTIFF'S
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                                      BasIJingtan,     mot 20515
                                             April 25, 2020



   The Honorable Steven Mnuchin                     The Honorable Jovita Carranza
   Secretary of the Treasury                        Administrator
   U.S. Department of the Treasury                  U.S. Small Business Administration
   1500 Pennsylvania Avenue NW                      409 3rd Street SW
   Washington, D.C. 20220                           Washington, D.C. 20416

Dear Secretary Mnuchin and Aclministrator Carranza:

We write regarding implementation of the Paycheck Protection Program and Health Care
Enhancement Act (the "interim " CO VID-19 act) that was signed into law yesterday and builds on the
small business rescue programs enacted as part of the Coronavfrus Aid, Relief, and Economic Security
(CARES) Act (Public Law 116-136). This act replenishes funding for key SBA COVID-19 response
programs, including $310 billion for the Paycheck Protection Program (PPP), $50 billion to leverage
more than $350 billion for SBA's Economic Injury Disaster Loan (EIDL) program, and $10 billion for
SBA's Emergency EIDL Grant program. This act also includes important policy reforms to expand
access to SBA assistance to more unbanked and underserved businesses, including minority-owned
businesses, rural businesses, small mom-and-pop shops, and smaller nonprofits that too often have
been pushed to the back of the line.

As you implement this new legislation, we urge you to consider the following:

Expand Access for Underserved and Main Street Businesses

We must ensure that federal recovery funding reaches businesses that have been underserved by
mainstream lending institutions in the past. In the interim COVID-19 act, Congress set aside $60
billion in PPP lending, including $30 billion for small banks and credit unions with fewer than $10
billion in assets and for community-based lenders that include Minority Depository Institutions
(MDis), Community Development Financial Institutions (CDFis), as well as SBA microlenders and
Certified Development Companies (CDCs). To ensure CDFis and MDis are able to access this set-
aside, SBA and Treasury should use their administrative authority to create a special set-aside of at
least $10 billion of PPP funds solely dedicated for MDis and CDFis. These institutions' specific
mission to serve low-income, rural, and minority small business owners and communities uniquely
positions them to increase the amount of PPP loans that reach our underserved businesses. These
businesses are the heartbeat of the diverse communities they serve and are particularly vulnerable
during this crisis.

The SBA and Treasury must also use their administrative authority to proactively engage with MDis
and CDFis, including Native and minority-led CDFis, SBA microlenders and CDCs that wish to
participate as PPP lenders. As part of this effort, SBA and Treasury must remove barriers to
participation for these critical lenders, particularly for non-bank CDFis. To swiftly achieve this goal,
we request the following immediate actions be completed in the next 48 hours by SBA and Treasury:
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      •     Set aside at least $10 billion for MDis and CDFis to make PPP loans;
      •     Eliminate the lender eligibility requirement for non-depository CDFis to have "originated,
            maintained, and serviced more than $50 million in business loans or other commercial financial
            receivables during a consecutive 12 month period in the past 36 months;" 1
      •     Ensure that non-depository CDFis do not have to re-verify information of existing customers, if
            they have an ongoing financial relationship with the customer that is well documented;
      •     Include all Bank Security Act-related questions in the initial application so that lenders do not
            have to collect this information via a follow-up request;
      •     Ensure the swift and smooth integration of CDFis, MDIs, and other small non-bank lenders
            into the SBA 's E-TRAN system;
      •     Create, in coordination with the CDFI Fund and Treasury's Office of Minority and Women
            Inclusion, webinars tailored to MDis and CDFis wishing to become PPP lenders; and
      •     Collaborate with the Minority Business Development Agency (MBDA), the Economic
            Development Administration (EDA), and the U.S. Department of Agriculture (USDA) in order
            to engage with minority, low- and moderate-income, and rural communities and ensure tb.a.t
            small business owners and nonprofits in those communities have equal access to PPP
            information and funding.

To further expand access to this critical assistance, we also request that SBA and Treasury release new
guidance to all lenders within the next 48 hours removing barriers for PPP loan applicants who are ex-
offenders, including those who were charged but never convicted. Lenders should also be required to
report on any applications rejected on this basis.

Award $10,000 SBA Emergency EIDL Grants as Intended

Under the CARES Act, Emergency EIDL Grants were to be made in amounts of up to $10,000 within
three days of receiving an application. However, SBA has taken much longer to disburse funds to
businesses. Furthermore, the Trump Administration used its discretionary authority to severely limit
these awards, permitting businesses to claim just $1,000 per employee. This means that, currently, a
sole proprietor or a small family-run business with only two or three employees cannot receive the full
$10,000 allowed under the statute. When SBA chose to place arbitrary limitations on award amounts
and ration available funding rather than request a new appropriation (as it was willing to do for PPP), it
failed small businesses and small private, nonprofits that had counted on these funds.

With the new $10 billion in funding for Emergency EIDL Grants that the interim COVID-19 act
provides, the Administration should remove the limitations it imposed that prevents businesses from
receiving a full $10,000 grant. Businesses that have previously received reduced grants because they
have fewer than ten employees should receive the full amount, and, going forward, new recipients
should receive full awards as well, regardless of their size. Furthermore, to prevent the Administration
from once again refusing to request additional appropriations when the program is fully subscribed,
SBA should notify Congress as soon as funds begin to run low rather than cut the amount small
businesses receive. In addition, it should dedicate the resources it has received for administrative
expenses to ensure that loans go out within the statutorily mandated three-day time frame.




1   SBA, '"Business Loan Program Temporary Changes; Paycheck Protection Program," Federal Register Vol. 85, No. 73
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With the goal of expanding access to this assistance, SBA should also conduct dedicated outreach and
technical assistance to ensure all small businesses are aware of and able to access EIDL loans and
grants. This includes concerted efforts to serve the truly small, unbanked, and underserved businesses,
including minority-, woman-owned, and rural businesses.

Update Eligibility for SBA's EIDL Loans and Grants to Include Farmen and Other
Agricultural Enterprises

There has been a wide demand from the agricultural community for SBA to change its rules so farms
and other agricultural enterprises can be eligible for the SBA's EIDL program and the new Emergency
EIDL Grant program. Unfortunately, SBA has not provided such a rule change.

The interim COVID-19 act includes this key fix to support the nation's farmers. Now, farms and
agricultural enterprises under 500 employees have been made eligible recipients for the EIDLs and
Emergency EIDL Grants. Given that so many of our small producers and agricultural small businesses
need urgent assistance, SBA must immediately update its guidance and application form to clarify this
new eligibility.

Implement Rigorous and Regular Reporting for Transparency and Ovenight


Neither the public nor policymakers are getting information in a timely or complete manner, and the
Administration's process for requesting funds and making changes is backwards. The first time
Congress received a full data report on PPP was April 14, almost a week after the Administration
announced PPP was running out of funding and requested an additional $250 billion. Treasury and the
Office of Management and Budget (0MB) do not seem to be coordinating with SBA, as the
Administration's request did not include funding for the EIDL and Emergency EIDL Grant programs,
which had hit their caps the previous week and had higher demand than PPP,

SBA is accustomed to tracking spending and breaking out weekly data on their largest loan programs
by number of loans, dollar amounts, demographics, loan sizes, information on new participating PPP
lenders, and other information that they make publicly available. It is imperative that SBA use that
expertise to provide robust and regular reporting on the COVID-19 SBA assistance through PPP, EIDL
loans and grants, as well as SBA' s other programs. This reporting is essential to making sure these
programs are reaching all small businesses we intend to assist. Congress provided SBA with $675
million in the CARES Act and $2.1 billion in the interim COVID-19 act to hire additional staff and
upgrade its technology for capacity and privacy protection. The Administration should already be
using these funds to support staff to implement these programs and upgrade the capacity of SBA's
systems to handle the unprecedented volume and make the grant and loan information public.


This funding should also be used to implement lender guidance on PPP loans to underserved and Main
Street borrowers along with the registration of PPP loans. The CARES Act explicitly includes
incentives for lenders to make small-dollar loans that benefit underserved borrowers, and includes a
Sense of the Senate that Administrator Carranza should issue guidance to lenders on prioritizing the
processing and disbursement of PPP loans to underserved borrowers. The CARES Act was signed into
law on March 27th and still this has not happened. The delay has left many underserved and Main
Street borrowers with the impression that the first-come, first-served process caused them to miss out
on the first $350 billion in paycheck assistance. They fear the same will happen again when the
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program reopens following this recent bill, especially since the Administration has said this is the last
funding that will be provided for PPP. We urge the Administrator to issue this lender guidance before
PPP is reopened with the additional funding, and to collect data on demographics along with job
retention from borrowers when they apply and submit their documentation for forgiveness, similar to
how it collects that data on other SBA loans.

Th~ CARES Act also requires the Administrator to register PPP loans within 15 days using a TIN
number to help to prevent borrowers from getting more than one loan. This is important to mitigate
fraud in real time, as well as helpful information in future oversight audits. We expect SBA to treat
PPP loans as it treats loans in its 7(a) and 504 programs by publicly publishing the company names and
addresses of borrowers and lenders, along with the loan amounts.

We appreciate your immediate attention to these critical issues and thank you for your continued work
to mitigate the impact that this public health crisis is having on our economy.

                                          Sincerely,




       Nancy Pelosi                                     Charles E. Schumer
       Speaker                                          Democratic Leader
       U.S. House of Representatives                    U.S. Senate




       Nydia M. Velazquez                               Benjamin L. Cardin
       Chairwoman                                       Ranking Member
       House Committee on Small Business                Senate Committee on Small Business and
                                                        Entrepreneurship




       Maxine Waters                                    Sherrod BroW!!
       Chairwoman                                       Ranking Member
       House Committee on Financial Services            Senate Committee on Banking, Housing and
                                                        Urban Affairs
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                       made under ~ ederal law relating to the n a - - - - - - - - ~
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  2                    tional emergency declared by the President
  3                     under the National Emergeneies Aet (50
  4                     U.S.C. 1601 et seq.) with respect to the
  5                    coronavirus disease 2019 (COVID-19),".
  6                           (iii)   MODIFICA'l'ION OF PLAN AF'l'ER

  7                     CONFIRMATION.-Section 1329 of title 11,
  8                     United States Code, is amended by strik-
  9                    ing subseetion (d).
 10                     (B) EFFECTIVE DATE.-'rhe amendments
 11               made by subparagraph (A) shall take effect on
 12               the date that is 1 year after the date of enaet-
 13               ment of this Act.
 14   SEC. 1114. EMERGENCY RULEMAKING AUTHORITY.

 15         Not later than 15 days after the date of enaetment
 16 of this Act, the Administrator shall issue regulations to
 17 carry out this title and the amendments made by this title
 18 without regard to the notiee requirements under seetion
 19 553(b) of title 5, United States Code.
                               Case 4:20-cv-00505-KGB Document 1 Filed 05/13/20 Page 29 of 33
                                                                                                       May 8, 2020           I
                               SBA Disaster Assistance Update                                                    J      PLAINTIFF'S   6
                                                                                                                     _;   EXHIBIT
                                  EIDL Advance/ COVID-19                                                             j       ~




                                                                      ,.
~labama               37,132         $ 120,793,000      Kansas                 21,479        $      69,839,000
~laska                 7,261         $    24,558,000    Kentucky               25,054        $      82,340,000
~rkansas              20,099         $    65,251,000    Louisiana              52,733        $     167,319,000
~rizona               52,593         $ 176,408,000      Maine                  12,964        $      42,188,000
:alifornia            450,449        $ 1,448, 196,000   Maryland               47,846        $     168,535,000
:olorado              60,405         $ 192,407,000      Massachusetts          64,819        $     222,480,000
:onnecticut           33,793         $ 109,950,000      Michigan               71,442        $    257,197,000
)elaware               7,776         $    27,050,000    Minnesota -            44,956        $     153,061,000
:1orida               297,763        $ 897,753,000      Mississippi            24,450        $      77,282,000
ieorgla               116,203        $ 364,785,000      Missouri               42,785        $     140,755,000
lawail                19,566         $    61,509,000    Montana                13,018        $      40,025,000
::laho·      ,.       14,255         $    46,170,000    Nebraska               17,198        $      53,749,000
linois                101,679        $ 340,966,000      N.evada
                                                             .;;
                                                                               29,487        $      92,283,000
1diana                36,938         $ 131,643,000      New Hampshire          13,318        $      46,685,000
:>wa              I   16,497         $    54,761,000    New Jersey             98,379        $    326,486,000            I




                                                                                        Figures as of 5/7/2020
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                                                                                            PLAINTIFF'S
                                                                                              EXHIBIT
                             DECLARATION OF ERIC N. WALL                                         3-
I, Eric N. Wall, do hereby declare and state as follows:

1. I am a Senior Loan Officer for the U.S. Small Business Administration's ("SBA" or ''the
   Agency") Office of Disaster Assistance ("ODA"). I have held this position since July 21,
   2014.

2. In my position as a Senior Loan Officer, I serve as the Contracting Officer's Representative
   ("COR") for contract number 73351020F0071, which is being performed by RER Solutions,
   Inc. ("RER"). As the COR, I am responsible for managing RER's performance under its
   contract with SBA,

3. Under its contract, RER provides data analysis and loan recommendation services for SBA's
   disaster loan response to the COVID-19 pandemic. In performing these services, RER
   operates a computer system ("System") which processes applications under SBA's Economic
   Injury Disaster Loan ("EIDL") program.

4. Applicants submit applications for EIDLs and advance grants under the EIDL program on an
   SBA website, at covidl 9relief.sba.gov. This application includes a box to check if the
   applicant seeks to request an advance grant.

5. The information is submitted by applicants under penalty of perjury, then enters the System.
     The System houses incoming applications and processes those applications generally on a
     first-in, first-out basis through an analysis prescribed by SBA. This analysis includes, but is
     not limited to, removal of duplicate applications and identification of applications that bear
     certain indications of fraud. A sample copy of the online application screens is attached here
     as Exhibit A.

6. This analysis ensures that applications are complete and submitted from eligible and existing
   small businesses. For example, without doing so, SBA would be in the position of approving
   payment of advance grants multiple times to entities that submitted multiple applications, or
   paying to applications submitted in the names of deceased individuals.

7. Upon the enactment of the Coronavirus Aid, Relief, and Economic Security (CARES) Act,
   Pub. L. No. 116-136, SBA and RER prepared the System to process EIDL applications and
   advance grant requests, and the System began processing applications on April 7, 2020 in
   small batches, ramping up to full capacity April 16, 2020. At that time, approximately 3.79
   million applications had already been submitted online and were in the System awaiting
   processing.

a.   To date, the System has received approximately 5.4 million total applications, and SBA
     anticipates receiving more applications in the future. To date, the System has processed
     approvals for approximately 1.6 million advance grant requests.



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9. The System can process up to one or two applications per second. However, even at this
   rapid pace, because there are only 86,400 seconds in a day, the System can only process a
   certain number of applications in a day.

10. Every day, seven days a week, the computer system sends lists of approved advance grant
    applications to SBA' s Office of Chief Financial Officer ("CFO'') for directing disbursement
    of those advance grants. Since the System began processing at full capacity, April 16, 2020,
    it has processed and sent an average of 109,785 applications per day to the CFO's office,
    with the exception of a brief interruption for approximately two days for technical reasons.

11, Because of the extraordinary volume of applications submitted prior to and since the date that
    the System began processing EIDL applications and advance grant requests, the System will
    take several more weeks to process the backlog of applications, despite its high speed in
    processing applications.

12. I have reviewed the System's record of information submitted by Lit Ventures LLC in its
    application for an EIDL and advance grant. The System shows that, in the field asking for
    ''Number of Employees (As of January 31, 2020)," the number 12 was entered on Lit
    Ventures LLC's application.


I declare under penalty of perjury that, to the best of my knowledge and belief, the above
statement is true and correct.


Executed this 29th day of April 2020.



EricN. Wall
Senior Loan Officer
U.S. Small Business Administration
Office of Disaster Assistance




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Date:                      April 7, 2020

To:                        Tami Perriello, Chief Financial Officer

From:                      Kimberly S. Butler, Director, Office of Grants Management

Subject:                   Authorization for Payments from RER Solutions

Ref:                       (a) OGC memo of3 April 2020

In accordance with reference (a), this guidance initiates the authorization for payments from RER
Solutions to the Office of the Chief Financial Officer for disbursement to the Bureau of Fiscal Service,
U.S. Treasury.

On March 2th, 2020, President Trump signed Pub. L. No. 116-136, the Coronavirus Aid, Relief, and
Economic Security (CARES) Act that includes authority under§ 1110 for Emergency Economic Injury
Disaster Loan (EIDL) Advances up to $10,000.

VERIFICATION.-Before disbursing amounts under this subsection, the Administrator shall verify that
the applicant is an eligible entity by accepting a self-certification from the applicant under penalty of
perjury pursuant to section 1746 of title 28 United States Code.

AMOUNT.-The amount of an Advance provided under this subsection shall be not more than $10,000.

Verification
The Small Business Administration has contracted with RER Solutions for identity verification, data
validation, and fraud detection.
    1.       EIDL applications collected through the Rapid Intake COVID-19 EIDL web form will be
             forwarded for processing to Rapid Decision automated processing platform configured and
             programmed in accordance with SBA Office of the Chief Financial Officer requirements as
             follows:
    2.       Remove duplicates
    3.       Remove applicants previously funded under COVID-19 EIDL in the Disaster Credit
             Management System (DCMS)
    4.       Perform fraud checks
    5.       Calculate eligible Advance amount based on logic provided by SBA
    6.       Applications that are not duplicates and not excluded based on fraud rules will be
             periodically placed in a batch file including fields required for processing through the Office
             of the Chief Financial Officer
    7.       Each batch file shall include batch number/code in the file name
    8.       Each batch file is sent to the Office of the Chief Financial Officer for funds check and
             creation of a Payment Automation Manager (PAM)-compliant file.

Fraud Check Indicators
If any 1 of the BOLDED fraud indicators in the verification process are triggered or any 3 BOLDED OR
NON-BOLD indicators are triggered, the application will not be included in a batch file.

       l.           Large number of applications with other lenders (large scale)
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    2.       Large number of applications for this program (several in succession)
    3.       Owner information failed validation (information does not match, person is listed as
             deceased, etc.)
    4.       Client location is international
    5.       Digital identity fraud suspicion/suspicious online behavior - the data has been used
             fraudulently online
    6.       VOiP phone number
    7.       Phone number is not associated with business or owner
    8.       Email has not passed validation
    9.       Invalid bank account number and/or routing number
    10.      Bank account ownenhip does not match business
    11.      Unable to confirm business registration

Any approved disbursements where the bank account number and routing number are valid and indicate
that the account can receive a deposit but the EIN/SSN can't be authenticated are authorized. A report for
awards at the $10,000 value shall be provided to the Office of Grants Management within 60 days after
the EIDL Advance program has completed its last disbursement.

Payment Amount
The total disbursement amount for each record included in the payment file is calculated based on the
following logic:

If number of employees is Othen amount is $1,000

Otherwise if number of employees is greater than 10 then amount is $10,000

Otherwise amount is number of employees times $1,000


The total disbursement amount for each Advance file is the sum of the individual disbursements amount
for each record in the file

Based on the procedures outlined above, and in accordance with§ 1110 of Pub. L. No. 116-136 = (the
CARES Act) and the streamlined procedures noted under 2 C.F.R. § 200.200(b), I authorize the
disbursement of all records verified, validated, approved and from RER Solutions to the Office of the
Chief Financial Officer.


X   ~ .. b,~S. MN
Kimberly S. ButlDirector,
Office of Grants Management
